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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                           CRIMINAL ACTION NO. 3:22CR-33-DJH


UNITED STATES OF AMERICA,                                                       PLAINTIFF,

v.

QUINTEZ BROWN,                                                                DEFENDANT.

                                            ORDER

           Pursuant to the Due Process Protections Act, the Court confirms the United States’

obligation to produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland,

373 U.S. 83 (1963), and its progeny, and orders it to do so. Failing to do so in a timely manner

may result in consequences, including, but not limited to, exclusion of evidence, adverse jury

instructions, dismissal of charges, contempt proceedings, or sanctions by the Court.



     April 7, 2022




cc: Counsel of record
